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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SHIPPITSA LIMITED,                         §
                                           §
                           Plaintiff,      §
                                           § Civil Action No. 3:18-CV-1036-D
VS.                                        §
                                           §
ANDREW JON SLACK, et al.,                  §
                                           §
                           Defendants.     §

                              MEMORANDUM OPINION
                                  AND ORDER

      In this action for trademark infringement and related claims, plaintiff Shippitsa

Limited (“Shippitsa”) moves the court to reconsider its memorandum opinion and order

dismissing Shippitsa’s claims against defendants MoreNiche Limited (“MoreNiche”) and

Andrew Jon Slack (“Slack”) for lack of personal jurisdiction. See Shippitsa Ltd. v. Slack,

2019 WL 277613, at *1 (N.D. Tex. Jan. 22, 2019) (Fitzwater, J.) (“Shippitsa I”). Shippitsa

contends that, in conducting its minimum-contacts analysis, the court committed a manifest

error of fact. Because Shippitsa’s motion raises new arguments that could have been raised

before, and because these arguments lack merit, the court denies the motion.

                                             I

      In August 2018 MoreNiche and Slack moved to dismiss Shippitsa’s claims against

them on the ground, inter alia, that this court lacks personal jurisdiction over them. The

court granted their motions. See Shippitsa I, 2019 WL 277613, at *1. In doing so, the court

rejected Shippitsa’s theory of personal jurisdiction: that MoreNiche and Slack have the
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required minimum contacts with this forum because their webpage—mixi.mn—caused

visitors’ web browsers—including web browsers located in this district1—to connect

automatically to a different website. See id. at *4.

       The court applied the test from Zippo Manufacturing Co. v. Zippo Dot Com, Inc., 952

F. Supp. 1119 (W.D. Pa. 1997), as adopted by the Fifth Circuit in Mink v. AAAA

Development LLC, 190 F.3d 333, 336 (5th Cir. 1999). See Shippitsa I, 2019 WL 277613, at

*4.2 Applying this analysis, the court concluded that mixi.mn is not sufficiently commercial

or interactive to support personal jurisdiction:

              All mixi.mn does is provide a small amount of information to
              users—information that users can, by default, view for only five
              seconds before being redirected to another website, allegedly
              operated by [defendant] Wolfson Berg [Limited] or some other
              entity, but not by MoreNiche or Slack. The average visitor’s
              interaction with mixi.mn is fleeting, at best. It involves no
              viewing of advertising or exchanging of information on the
              mixi.mn webpage itself that is commercial in nature.

Id. The court expressly held that “the fact that the mixi.mn webpage sends digital

instructions to a visitor’s computer [does not] render the webpage owner subject to personal

jurisdiction.” Id. at *5. From its survey of Fifth Circuit Zippo precedent, the court was

aware of no examples in which personal jurisdiction rested on technical instructions sent to


       1
        As the court previously observed, Shippitsa has not provided any evidence or non-
conclusory allegations that anyone from Texas (other than Shippitsa’s agents) actually visited
mixi.mn. See Shippitsa I, 2019 WL 277613, at *5. But because doing so does not affect the
outcome of the motion for reconsideration, the court will assume arguendo that Texas
residents have accessed mixi.mn.
       2
        The Zippo test is described infra at § III(A)(2).

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the user’s web browser, as opposed to the user’s ability to interact or to exchange commercial

information with the website. See id. at *4-5.

       Shippitsa now moves for reconsideration, contending that the court’s focus on the

visible, rather than the invisible, aspects of mixi.mn was a manifest error of fact.

                                              II

       “Motions for reconsideration have a narrow purpose and are only appropriate to allow

a party to correct manifest errors of law or fact or to present newly discovered evidence.”

AMS Staff Leasing, NA, Ltd. v. Associated Contract Truckmen, Inc., 2005 WL 3148284, at

*3 (N.D. Tex. Nov. 21, 2005) (Fitzwater, J.) (internal quotation marks omitted); see

Kimberly-Clark Corp. v. Cont’l Cas. Co., 2006 WL 2468712, at *1 (N.D. Tex. Aug. 25,

2006) (Fitzwater, J.) (stating standard for motion for reconsideration). The same standard

applies to a Rule 59(e) motion to alter or amend the judgment. See, e.g., Schwartz v. Int’l

Fed’n of Prof’l & Tech. Eng’rs, 2008 WL 324133, at *1 (N.D. Tex. Jan. 29, 2008)

(Fitzwater, C.J.) (holding that court did not commit manifest error of law or fact, and denying

Rule 59(e) motion), aff’d, 306 Fed. Appx. 168, 2009 WL 62236 (5th Cir. Jan. 12, 2009).

“Such motions are not the proper vehicle for rehashing old arguments or advancing theories

of the case that could have been presented earlier.” AMS Staff Leasing, 2005 WL 3148284,

at *3 (internal quotation marks omitted).




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                                                III

       In its motion for reconsideration, Shippitsa re-urges its argument that mixi.mn can

support personal jurisdiction under the Zippo test. Shippitsa also cites, for the first time,

Wien Air Alaska, Inc. v. Brandt, 195 F.3d 208, 213 (5th Cir. 1999), and folds the principles

from that case into the present minimum-contacts analysis.

                                                A

       The court begins with a more thorough, and hopefully more thoughtful, discussion of

the applicable law—a discussion necessitated by the difficulties in applying traditional

personal-jurisdiction    concepts     to   Internet   contacts.      See,   e.g., Zoe      Niesel,

#PersonalJurisdiction: A New Age of Internet Contacts, 94 Ind. L.J. 103, 116-38 (2019)

(highlighting limitations of Zippo test for measuring online contacts).

                                                1

       The fundamental test for whether a court has personal jurisdiction over a defendant

is well-settled.

       “When a nonresident defendant presents a motion to dismiss for lack of personal

jurisdiction, the plaintiff bears the burden of establishing the district court’s jurisdiction over

the nonresident.” Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985) (citing Thompson

v. Chrysler Motors Corp., 755 F.2d 1162, 1165 (5th Cir. 1985); D.J. Invs., Inc. v. Metzeler

Motorcycle Tire Agent Gregg, Inc., 754 F.2d 542, 545 (5th Cir. 1985)). The determination

whether a federal district court has in personam jurisdiction over a nonresident defendant is

bipartite. The court first decides whether the long-arm statute of the state in which it sits

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confers personal jurisdiction over the defendant. If it does, the court then resolves whether

the exercise of jurisdiction is consistent with due process under the United States

Constitution. See Mink, 190 F.3d at 335. Because the Texas long-arm statute extends to the

limits of due process, the court need only consider whether exercising jurisdiction over the

defendant would be consistent with the Due Process Clause of the Fourteenth Amendment.

See id.; Alpine View Co. v. Atlas Copco AB, 205 F.3d 208, 214 (5th Cir. 2000).

                      The Due Process Clause of the Fourteenth Amendment
              permits the exercise of personal jurisdiction over a nonresident
              defendant when (1) that defendant has purposefully availed
              itself of the benefits and protections of the forum state by
              establishing “minimum contacts” with the forum state; and (2)
              the exercise of jurisdiction over that defendant does not offend
              “traditional notions of fair play and substantial justice.” To
              comport with due process, the defendant’s conduct in
              connection with the forum state must be such that it “should
              reasonably anticipate being haled into court” in the forum state.

Latshaw v. Johnston, 167 F.3d 208, 211 (5th Cir. 1999) (footnotes omitted) (first quoting

Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); then quoting World-Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). To determine whether exercising

jurisdiction would satisfy traditional notions of fair play and substantial justice, the court

examines (1) the defendant’s burden, (2) the forum state’s interests, (3) the plaintiff’s

interests in convenient and effective relief, (4) the judicial system’s interest in efficient

resolution of controversies, and (5) the states’ shared interest in fundamental social policies.

Ruston Gas Turbines, Inc. v. Donaldson Co., 9 F.3d 415, 421 (5th Cir. 1993).

       A defendant’s contacts with the forum may support either specific or general


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jurisdiction over the defendant. Mink, 190 F.3d at 336. “For the court properly to assert

specific personal jurisdiction, the defendant must have ‘purposefully directed’ his activities

at residents of the forum, and the litigation must result from alleged injuries that ‘arise out

of or relate to’ the defendant’s activities directed at the forum.” Archer & White, Inc. v.

Tishler, 2003 WL 22456806, at *2 (N.D. Tex. Oct. 23, 2003) (Fitzwater, J.) (quoting Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)). “General jurisdiction exists when a

defendant’s contacts with the forum state are unrelated to the cause of action but are

‘continuous and systematic.’” Id. (quoting Mink, 190 F.3d at 336). “[A] court may assert

jurisdiction over a foreign corporation ‘to hear any and all claims against [it]’ only when the

corporation’s affiliations with the State in which suit is brought are so constant and pervasive

‘as to render [it] essentially at home in the forum State.’” Daimler AG v. Bauman, 571 U.S.

117, 122 (2014) (first brackets added) (quoting Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 919 (2011)). Shippitsa argues that this court has specific personal

jurisdiction over MoreNiche and Slack.

       “The district court usually resolves the jurisdictional issue without conducting a

hearing.” Ham v. La Cienega Music Co., 4 F.3d 413, 415 (5th Cir. 1993) (footnote omitted).

                      When a court rules on a motion to dismiss for lack of
              personal jurisdiction without holding an evidentiary hearing, it
              must accept as true the uncontroverted allegations in the
              complaint and resolve in favor of the plaintiff any factual
              conflicts posed by the affidavits. Therefore, in a no-hearing
              situation, a plaintiff satisfies his burden by presenting a prima
              facie case for personal jurisdiction.

Latshaw, 167 F.3d at 211 (footnotes omitted). “This liberal standard, however, does not

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require the court to credit conclusory allegations, even if they remain uncontradicted.”

Panda Brandywine Corp. v. Potomac Elec. Power Co., 2000 WL 35615925, at *2 (N.D. Tex.

Sept. 15, 2000) (Fitzwater, J.) (citing Felch v. Transportes Lar-Mex SA DE CV, 92 F.3d 320,

326 n.16 (5th Cir. 1996)), aff’d, 253 F.3d 865, 869 (5th Cir. 2001) (per curiam) (affirming,

inter alia, this conclusion). Nor is the court limited to considering the facts pleaded in the

complaint. See Walk Haydel & Assocs., Inc. v. Coastal Power Prod. Co., 517 F.3d 235, 241

(5th Cir. 2008). Rather, “the district court may receive any combination of the recognized

methods of discovery, including affidavits, interrogatories, and depositions to assist it in the

jurisdictional analysis.” Tendeka, Inc. v. Glover, 2014 WL 978308, at *3 (S.D. Tex. Mar.

12, 2014) (Rosenthal, J.) (internal quotations omitted).

                                               2

       When specific jurisdiction is based on online interactions via an Internet website, the

Fifth Circuit is guided by the sliding scale adopted in Zippo, 952 F. Supp. at 1124. See Am.

Eyewear, Inc. v. Peeper’s Sunglasses & Accessories, Inc., 106 F.Supp.2d 895, 900-01 & n.10

(N.D. Tex. 2000) (Fitzwater, J.) (citing Mink, 190 F.3d at 336) (interpreting Zippo). Zippo

requires the court to assess the level of interactivity of the defendant’s website. It prescribes

different outcomes to the personal jurisdiction question depending on which of the following

three categories the website falls into: (1) where a website is nothing more than a passive

advertisement, the court must decline to exercise personal jurisdiction; (2) where a website

facilitates contractual relationships and the knowing and repeated transmission of computer

files over the Internet, personal jurisdiction is proper; and (3) where a website falls

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somewhere in between, “the exercise of jurisdiction is determined by the level of interactivity

and commercial nature of the exchange of information that occurs on the [w]ebsite.” Mink,

190 F.3d at 336 (quoting Zippo, 952 F. Supp. at 1124).

       As this court noted in Shippitsa I, “[t]he Zippo court did not create its sliding scale

from whole cloth—the test is based on ‘well developed personal jurisdiction principles.’”

Shippitsa I, 2019 WL 277613, at *5 (quoting Zippo, 952 F. Supp. at 1124). “Even in the

strange realm of Internet-related contacts, the standard for personal jurisdiction remains that

a non-resident defendant must have purposefully availed itself of the benefits and protections

of the forum’s laws such that it should reasonably anticipate being haled into the forum’s

courts.” Id. (quoting Applied Food Scis., Inc. v. New Star 21, Inc., 2009 WL 9120113, at *4

(W.D. Tex. Jan. 23, 2009)). Thus while Zippo provides a helpful framework in which to

analyze online contacts, it does not supplant the Due Process Clause or the animating

principles of personal-jurisdiction jurisprudence. See, e.g., Pervasive Software Inc. v.

Lexware GmbH & Co. Kg, 688 F.3d 214, 226-28 & n.7 (5th Cir. 2012) (acknowledging that

“interactivity along the Zippo sliding scale can be an important factor in an internet-based

personal jurisdiction analysis,” but declining to apply Zippo and instead engaging in a more

holistic analysis of defendant’s Internet contacts); Best Van Lines, Inc. v. Walker, 490 F.3d

239, 252 (2d Cir. 2007) (“While analyzing a defendant’s conduct under the Zippo sliding

scale of interactivity may help frame the jurisdictional inquiry in some cases . . . it does not

amount to a separate framework for analyzing internet-based jurisdiction.” (internal quotation

marks omitted)); Tempur-Pedic Int’l, Inc. v. Go Satellite Inc., 758 F.Supp.2d 366, 375-77

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(N.D. Tex. 2010) (Fitzwater, C.J.) (analyzing, in conjunction with Zippo test, whether

defendant could reasonably foresee being haled into court on basis of online sales to Texas

residents). Put another way, “[t]he exercise of personal jurisdiction arising from Internet

activities should conform to first principles of jurisdiction.” Dennis T. Yokoyama, You Can’t

Always Use the Zippo Code, 54 DePaul L. Rev. 1147, 1149 (2005).

       The Zippo framework nonetheless has its uses. It averts the risk that a defendant,

merely by operating a globally-accessible website, might be subject to global personal

jurisdiction—without any opportunity “to structure [its] primary conduct with some

minimum assurance as to where that conduct will and will not render [it] liable to suit,”

World-Wide Volkswagen, 444 U.S. at 297. The D.C. Circuit, in an early Internet-contacts

case, explained the problem succinctly:

              When stripped to its core, [plaintiff]’s theory of jurisdiction rests
              on the claim that, because the defendants have acted to
              maximize usage of their websites in the District, mere
              accessibility of the defendants’ websites establishes the
              necessary “minimum contacts” with this forum. This theory
              simply cannot hold water. Indeed, under this view, personal
              jurisdiction in Internet-related cases would almost always be
              found in any forum in the country. We do not believe that the
              advent of advanced technology, say, as with the Internet, should
              vitiate long-held and inviolate principles of federal court
              jurisdiction. The Due Process Clause exists, in part, to give “a
              degree of predictability to the legal system that allows potential
              defendants to structure their primary conduct with some
              minimum assurance as to where that conduct will and will not
              render them liable to suit.” In the context of the Internet,
              [plaintiff]’s expansive theory of personal jurisdiction would
              shred these constitutional assurances out of practical existence.
              Our sister circuits have not accepted such an approach, and
              neither shall we.

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GTE New Media Servs. Inc. v. BellSouth Corp., 199 F.3d 1343, 1350 (D.C. Cir. 2000)

(citations omitted). The Zippo framework recognizes that due process cannot support this

result.

          Zippo instead comports with core personal-jurisdiction principles by requiring

“evidence of purposeful conduct” by the defendant. Pervasive Software, 688 F.3d at 227 n.7.

It is well-established that “[a] plaintiff’s or third party’s unilateral activities cannot establish

minimum contacts between the defendant and forum state.” Moncrief Oil Int’l Inc. v. OAO

Gazprom, 481 F.3d 309, 311 (5th Cir. 2007). A user’s connection to a defendant’s website

is initiated by the user; the process has been analogized to the defendant’s receiving a phone

call from a forum resident. See GTE New Media Servs., 199 F.3d at 1349-50. Thus the user-

driven process of connecting to a website cannot, without more, support personal jurisdiction.

Cf. Shippitsa I, 2019 WL 277613, at *5 (“It appears to be undisputed, however, that all

websites that a visitor can access by computer send instructions to the visitor’s computer.

Something more must be involved.” (footnote omitted)). The lodestars of the Zippo

analysis—the level of interactivity and the commercial nature of the exchange of

information—allow courts to differentiate between defendants who merely maintain a

passive Internet presence (to which users then unilaterally connect) and defendants who

actively engage, and do business, with residents of the forum state via the Internet.

          A corollary principle of personal jurisdiction is that a defendant should be able to

structure its conduct so as to predict where it might be haled into court. See World-Wide

Volkswagen, 444 U.S. at 297. A defendant can control the universe of those with whom it

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interacts and does business online; thus the Zippo test provides an opportunity for defendants

to choose whether to subject themselves to jurisdiction in a particular forum. See Shippitsa

I, 2019 WL 277613, at *6 (“Zippo emphasizes the importance of a website operator’s

‘conscious choice to conduct business with the residents of a forum state[.]’ . . . A person

or company that wishes to avoid being haled into court in a particular jurisdiction can simply

choose not to interact with forum residents online.” (quoting Zippo, 952 F. Supp. at 1126)).

       Finally, where a defendant uses a website to engage in business transactions, Zippo

reflects an extension of the principle that “when an entity intentionally reaches beyond its

boundaries to conduct business with foreign residents, the exercise of specific jurisdiction

is proper.” Zippo, 952 F. Supp. at 1124 (citing Burger King, 471 U.S. at 475). “Different

results should not be reached simply because business is conducted over the Internet.” Id.

Thus where there is “evidence that [the defendant] conducted business over the Internet by

engaging in business transactions with forum residents or by entering into contracts over the

Internet,” personal jurisdiction is proper. Mink, 190 F.3d at 337.

       Zippo is not the only test applicable to Internet contacts. Some courts have applied

the so-called “effects test” from Calder v. Jones, 465 U.S. 783 (1984), alongside—or in lieu

of—the Zippo analysis. See, e.g., Revell v. Lidov, 317 F.3d 467, 471-76 (5th Cir. 2002)

(applying both Zippo and Calder); see also Steele v. Burek, 2014 WL 6612386, at *8-9 (E.D.

Mich. Nov. 20, 2014) (collecting cases). The core principle of Calder is that, when a

defendant is “charged with intentional, tortious conduct directed toward the forum state . . .

[it] must ‘reasonably anticipate being haled into court there[.]’” Wien Air, 195 F.3d at 212

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(quoting Calder, 465 U.S. at 789-90) (some internal quotation marks omitted). Although

Calder itself involved a defamation claim, the Fifth Circuit has extended its analysis to other

intentional torts. See id.

       Like Zippo, Calder does not supersede or replace the Due Process Clause; rather, it

is an application of familiar principles of personal jurisdiction in the context of intentional

torts. See Walden v. Fiore, 571 U.S. 277, 283-86 (2014) (examining traditional personal-

jurisdiction cases, such as World-Wide Volkswagen and Burger King, then stating that

“[t]hese same principles apply when intentional torts are involved”); Sarah H. Ludington,

Aiming at the Wrong Target, 73 Ohio St. L.J. 541, 545-51 (2012) (arguing that Calder, which

cites traditional minimum-contacts cases, is an application of—rather than a departure

from—existing personal-jurisdiction jurisprudence). The limits that due process places on

personal jurisdiction apply with equal force when an intentional tort is involved.

                                              B

       In light of the above, the court remains unpersuaded that mixi.mn can support the

exercise of specific personal jurisdiction under the Zippo test.

       Shippitsa asserts that, “[t]he [c]ourt errantly considered only what could be seen by

the browser’s user, and ignored the messages that controlled operation of the browser itself.

Shippitsa’s allegations against MoreNiche and Slack turn on the ‘redirection’ and not merely

the visible content [of mixi.mn].” Mot. Reconsider 4 n.1 (citation omitted). Shippitsa seems

to suggest that the court misunderstood the crux of Shippitsa’s personal-jurisdiction

argument. The court disagrees. The court in fact acknowledged that “Shippitsa . . . contends

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that, by sending instructions to visitors’ web browsers and thereby causing the browsers to

connect to another web address, mixi.mn is sufficiently interactive to give rise to personal

jurisdiction.” Shippitsa I, 2019 WL 277613, at *4 (footnote omitted). The court’s analysis

focused on the visible elements of mixi.mn because, according to existing case law in this

circuit, those are the elements that matter under the Zippo test. See id. at *4-5. This was not

a manifest error of law or fact.

       Moreover, the court’s focus on the visible elements of mixi.mn was sensible in light

of the underlying principles of personal jurisdiction embodied in the Zippo test. The fact that

the mixi.mn webpage automatically sends redirect instructions to all visitors does not evince

“purposeful conduct,” on the part of MoreNiche and Slack. See Pervasive Software, 688

F.3d at 227 n.7. In contrast, the kinds of interactive features that the Zippo test does take into

account—such as the defendant’s processing online order forms and allowing sales associates

to exchange messages with visitors, see, e.g., Tempur-Pedic, 758 F.Supp.2d at 375-

76—require subsequent, purposeful action by the defendant or its agents.3


       3
        A website might also be interactive if it allows users to exchange information with
other users via the website. See, e.g., Revell, 317 F.3d at 472 (“[I]n this case, any user of the
internet can post material to the bulletin board. This means that individuals send information
to be posted, and receive information that others have posted.”). But this type of feature does
not, without more, necessarily subject the website’s operator to personal jurisdiction. See id.
at 475-76 (declining to exercise personal jurisdiction because allegedly-tortious article posted
on message board lacked any Texas-specific direction, and because of “the low-level of
interactivity of the internet bulletin board”); see also, e.g., Binion v. O’Neal, 95 F.Supp.3d
1055, 1060 (E.D. Mich. 2015) (noting that “courts have applied the Zippo test to social media
websites and held that personal jurisdiction is not established by merely posting content on
websites such as Facebook,” because Facebook postings are not sufficiently commercial or
interactive); cf. Hawbecker v. Hall, 88 F.Supp.3d 723, 729 (W.D. Tex. 2015) (exercising

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       And if Zippo were to take into account the technical instructions sent to a user’s web

browser, the courts would be faced with a line-drawing problem, because the number of

invisible messages exchanged between users and websites is greater today than at the time

when Zippo was decided. For example, even purely-informational websites now widely use

“cookies”—“data that [are] sent from a website’s host server and then stored on the user’s

computer”—for a variety of purposes. Niesel, supra, 94 Ind. L.J. at 135; see also Ds. Resp.

4 (“[Shippitsa’s theory of interactivity] would ensnare within its ambit all use of cookies,

temporary internet files, and other ‘packaging’ that accompanies the visible text of a website

for ease of use.”). Shippitsa has offered no clear, guiding principle that would allow this or

any other court to differentiate among redirect instructions and other types of behind-the-

scenes digital communications.

       Shippitsa argues for the first time in its motion for reconsideration that MoreNiche and

Slack, like the defendant in Zippo, are engaging in electronic commerce with forum residents

through mixi.mn, thus placing mixi.mn in the second Zippo category. In support of this

contention, Shippitsa explains the role of mixi.mn in MoreNiche and Slack’s affiliate

marketing network: visitors to mixi.mn arrive there after clicking on an advertisement for

Shippitsa’s product on another website; mixi.mn then redirects visitors to a website operated



specific jurisdiction on basis of defendant’s Facebook page, because page allowed defendant
to exchange messages with others and because defendant used Facebook page to direct
defamatory comments toward Texas residents). Presumably, this is because including such
a feature on a webpage does not, on its own, evince “purposeful conduct,” Pervasive
Software, 688 F.3d at 227 n.7, that is directed toward any particular forum.

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by Wolfson Berg Limited (“Wolfson Berg”), where they can purchase products; and

MoreNiche and Slack benefit financially from sales of Wolfson Berg’s products. Shippitsa

recounted this same sequence of events in response to MoreNiche and Slack’s motions to

dismiss, but it failed to argue that mixi.mn is itself a means of engaging in electronic

commerce with forum residents. Instead, Shippitsa relied on its characterization of mixi.mn

as being highly interactive due to the electronic instructions that the webpage sends to users’

browsers. Motions for reconsideration “are not the proper vehicle for . . . advancing theories

of the case that could have been presented earlier.” AMS Staff Leasing, 2005 WL 3148284,

at *3 (internal quotation marks omitted).

       In any event, “doing business over the Internet,” Zippo, 952 F. Supp. at 1124, does

not include every online activity that financially benefits the defendant. Were it so, even

passive online advertisements would give rise to personal jurisdiction—an outcome that is

plainly foreclosed by Mink, 190 F.3d at 337. Rather, the second Zippo category is an

extension of the principle that “when an entity intentionally reaches beyond its boundaries

to conduct business with foreign residents, the exercise of specific jurisdiction is proper.”

Zippo, 952 F. Supp. at 1124. In support of this principle, the Zippo court cited Burger King,

in which the defendant reached out to a company headquartered in the forum state and

entered into a long-term contractual relationship with that company. See Burger King, 471

U.S. at 479-80. Visitors to mixi.mn cannot contract with MoreNiche and Slack via mixi.mn.

See Shippitsa I, 2019 WL 277613, at *4. Thus here, as in Mink, “[t]here was no evidence

that [the defendants] conducted business over the Internet by engaging in business

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transactions with forum residents or by entering into contracts over the Internet.” Mink, 190

F.3d at 337. Accordingly, mixi.mn falls, at best, in the middle category of Zippo. To support

personal jurisdiction, the webpage must be sufficiently interactive in the context of the Zippo

sliding scale. See id. The court has already concluded that it is not.

                                               C

       The court is not persuaded by Shippitsa’s references to Wien Air and the principles

advanced therein—principles derived from Calder.4

       Shippitsa cites Wien Air for the proposition that “[w]hen the actual content of

communications with a forum gives rise to intentional tort causes of action, this alone

constitutes purposeful availment.” Mot. Reconsider 3 (emphasis omitted) (quoting Wien Air,

195 F.3d at 213). According to Shippitsa, MoreNiche and Slack committed a number of

intentional torts—including, inter alia, trademark infringement and false designation of

origin—when they redirected Texas residents to Wolfson Berg’s websites. These intentional

torts thus arose from the digital instructions, or “communications,” that mixi.mn sent to

visitors’ web browsers in Texas. Id. at 9.

       The instant case, however, is less like Wien Air than it is like Revell, 317 F.3d 467.

In Wien Air the Fifth Circuit held that specific jurisdiction could be exercised over a

defendant who directed a number of tortious and deceptive letters, faxes, and phone calls to



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       Again, Shippitsa never cited Wien Air in its responses to MoreNiche and Slack’s
motions to dismiss. It is improper for Shippitsa to raise the argument for the first time in a
motion to reconsider. See, e.g., AMS Staff Leasing, 2005 WL 3148284, at *3.

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the plaintiffs in Texas. Wien Air, 195 F.3d at 212. The panel based its conclusion on the

principle from Calder that “intentional, tortious conduct directed toward the forum state” can

create the minimum contacts necessary to support personal jurisdiction. Id. (emphasis

added). In Revell the Fifth Circuit applied the same principle to an Internet tort, and held that

personal jurisdiction was lacking. The panel concluded that an allegedly-defamatory article

shared via an online bulletin board did not subject the article’s author and the website’s

owner to specific jurisdiction in Texas, the plaintiff’s state of residence. See Revell, 317 F.3d

at 471-76. The panel reasoned that “the post to the bulletin board here was presumably

directed at the entire world, or perhaps just concerned U.S. citizens. But certainly it was not

directed specifically at Texas[.]” Id. at 475.

       As in Revell, in the present case the mixi.mn redirect page and the MoreNiche affiliate

marketing network more broadly are directed at the entire world. There is nothing in the

complaint or the record to indicate that MoreNiche and Slack ever targeted Texas specifically

with their alleged infringement, just as the defendants in Revell did not specifically target

Texas readers with their alleged defamation. See Revell, 317 F.3d at 475. “[O]ne cannot

purposefully avail oneself of ‘some forum someplace.’” Id. (quoting Burger King, 471 U.S.

at 474). Thus MoreNiche and Slack’s alleged torts lack the Texas-specific direction required

to give rise to personal jurisdiction under the Wien Air and Calder analysis.

       For similar reasons, the discussion of personal jurisdiction in eBay Inc. v. Digital

Point Solutions, Inc., 608 F.Supp.2d 1156 (N.D. Cal. 2009), which Shippitsa cites, is

inapposite. In eBay the defendants engaged in a scheme to use illicit software to siphon

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funds from the plaintiff’s online auction website, ebay.com. See id. at 1160. They did this

by surreptitiously installing software on a user’s personal computer that caused the user’s

web browser to visit ebay.com. See id. The software then prompted ebay.com to place a

tracking cookie on the user’s computer. See id. The cookie in essence fooled the plaintiff’s

website into believing that the user had been directed to ebay.com after clicking on an

advertisement on a website operated by the defendants. See id. Thus the cookie caused the

plaintiff to pay a commission to the defendants the next time the user engaged in a

transaction on ebay.com. See id. The eBay court concluded, in the context of a venue

challenge, that it had personal jurisdiction over the defendants in the plaintiff’s home state

of California. See id. at 1162. The court noted that the defendants caused numerous

computers to connect to the plaintiff’s computer system—located within the forum—and

further caused the plaintiff’s computer system to place the offending cookies. See id.

Additionally, “[t]he alleged harm that resulted from such contacts also occurred in this

district because the advertising affiliate data maintained by eBay was corrupted by

Defendants’ software code.” Id.

       Regardless whether this court agrees or disagrees with eBay, that case is readily

distinguishable. The defendants in eBay intentionally directed communications from

numerous jurisdictions toward California and thereby corrupted the plaintiff’s data, which

were located in California. In other words, the defendants’ alleged tort had a California-

specific direction that is lacking in the present case—the defendants purposefully availed

themselves of the California forum such that they could reasonably anticipate being haled

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into court specifically in California. Meanwhile, the mixi.mn webpage is no more directed

at Texas specifically than it is at any other jurisdiction in the world. The court concludes on

this basis that eBay is factually inapposite.

       Finally, under Shippitsa’s theory, it could have brought this lawsuit against

MoreNiche and Slack in any forum in which a visitor to mixi.mn resides. This proves too

much. Just as the defendants in Revell did not subject themselves to global personal

jurisdiction by making their defamatory article available worldwide, MoreNiche and Slack

did not submit themselves to personal jurisdiction everywhere by maintaining an allegedly-

infringing webpage. See Revell, 317 F.3d at 475. Other courts have come to the same

conclusion in the context of trademark-infringement claims like Shippitsa’s. See, e.g., Hearst

Corp. v. Goldberger, 1997 WL 97097, at *20 (S.D.N.Y. Feb. 26, 1997) (rejecting contention

that “through their web sites, defendants consciously decided to transmit advertising

information to all Internet users, including those in the forum state, thereby (allegedly)

committing trademark infringement in the forum state and purposefully availing themselves

of the privilege of doing business within the forum state,” because this theory “would, in

effect, create national (or even worldwide) jurisdiction, so that every plaintiff could sue in

plaintiff’s home court every out-of-state defendant who established an Internet web site”);

cf. Advanced Tactical Ordinance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 801-

02 (7th Cir. 2014) (“The creation of such de facto universal jurisdiction runs counter to the

approach the Court has followed since International Shoe, and that it reaffirmed as recently

as February 2014 in Walden.”).

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      For the foregoing reasons, the court denies Shippitsa’s motion to reconsider the

dismissal of defendants MoreNiche and Slack.

      SO ORDERED.

      June 5, 2019.



                                         _________________________________
                                         SIDNEY A. FITZWATER
                                         SENIOR JUDGE




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